4/4/2016   Case 3:16-cv-03033-RAL DocumentCM/ECF­LIVE­District of Wyoming
                                           113-10 Filed 04/09/17 Page 1 of 2 PageID #: 1552
                                                                                                               PROSE,TERMED

                                              U.S. District Court
                                       District of Wyoming (Cheyenne)
                                CIVIL DOCKET FOR CASE #: 2:15­cv­00188­ABJ


  Lundahl et al v. Global E LLC et al                                                  Date Filed: 10/15/2015
  Assigned to: Honorable Alan B Johnson                                                Date Terminated: 12/02/2015
  Referred to: Honorable Kelly H Rankin                                                Jury Demand: Both
  Cause: 42:1981 Housing Discrimination                                                Nature of Suit: 443 Civil Rights:
                                                                                       Accomodations
                                                                                       Jurisdiction: Federal Question
  Plaintiff
  Marti Lundahl                                                          represented by Marti Lundahl 
                                                                                        935 Wilderness Trail 
                                                                                        Green River, WY 82935 
                                                                                        Email: martilundahl64@gmail.com 
                                                                                        PRO SE

  Plaintiff
  Hollie Telford                                                         represented by Hollie Telford 
                                                                                        935 Wilderness Trail 
                                                                                        Green River, WY 82935 
                                                                                        PRO SE


  V.
  Defendant
  Global E LLC                                                           represented by Michael W Stulken 
  doing business as                                                                     STULKEN AND TYNSKY PC 
  Pioneer Park MHC                                                                      520 Wilkes Drive Suite 7A 
                                                                                        P O Box 237 
                                                                                        Green River, WY 82935 
                                                                                        307/875­3909 
                                                                                        Fax: 307/875­3332 
                                                                                        Email: mstulken@stulkentynsky.com 
                                                                                        LEAD ATTORNEY 
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Lincoln County District Judge 
  in her official capacity 
  also known as
  Nena James

  Defendant

https://ecf.wyd.uscourts.gov/cgi­bin/DktRpt.pl?275892633751425­L_1_0­1                                                       1/6
4/4/2016   Case 3:16-cv-03033-RAL DocumentCM/ECF­LIVE­District of Wyoming
                                           113-10 Filed 04/09/17 Page 2 of 2 PageID #: 1553
  Centurylink Public Communications                                      represented by O'Kelley H Pearson 
  Inc                                                                                   HICKEY & EVANS 
                                                                                        1800 Carey Avenue, Suite 700 
                                                                                        P O Box 467 
                                                                                        Cheyenne, WY 82003­0467 
                                                                                        307/634­1525 
                                                                                        Fax: 307/638­7335 
                                                                                        Email: kpearson@hickeyevans.com 
                                                                                        LEAD ATTORNEY                    
                                                                                                           
                                                                                        ATTORNEY TO BE NOTICED
  Defendant
  Ann Clayton                                                            represented by Michael W Stulken 
  individually                                                                          (See above for address) 
                                                                                        LEAD ATTORNEY 
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Judy Cirrillo                                                          represented by Michael W Stulken 
  individually                                                                          (See above for address) 
                                                                                        LEAD ATTORNEY 
                                                                                        ATTORNEY TO BE NOTICED
  Defendant
  Micheal Stulken                                                        represented by Michael W Stulken 
  individually                                                                          (See above for address) 
                                                                                        LEAD ATTORNEY 
                                                                                        ATTORNEY TO BE NOTICED
  Defendant
  Greg Norman 
  individually
  Defendant
  Centurylink Public Communications
  Inc Corporate Representative 
  in his official capacity 
  also known as
  Greg Norman
  Defendant
  Global E LLC Employee Stulken                                          represented by Michael W Stulken 
  in his official capacity                                                              (See above for address) 
  also known as                                                                         LEAD ATTORNEY 
  Micheal Stulken                                                                       ATTORNEY TO BE NOTICED
  Defendant
  Global E LLC Employee Cirrillo                                         represented by Michael W Stulken 
  in her official capacity                                                              (See above for address) 

https://ecf.wyd.uscourts.gov/cgi­bin/DktRpt.pl?275892633751425­L_1_0­1                                                      2/6
